                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    AT CHATTANOOGA


 UNITED STATES OF AMERICA                        )
                                                 )
                                                 )           No. 1:09-CR-181
 v.                                              )
                                                 )           Chief Judge Curtis L. Collier
 LESLIE APGER                                    )
                                                 )

                                             ORDER

         On June 23, 2010, United States Magistrate Judge William B. Mitchell Carter filed a Report

 and Recommendation (“R&R”) (Court File No. 557) recommending the Defendant Leslie Apger

 (“Defendant”) be found competent to stand trial.

         After reviewing the record and the applicable law, the Court agrees with the magistrate

 judge’s findings of fact and conclusions of law. Therefore, pursuant to 28 U.S.C. § 636(b)(1), the

 Court ACCEPTS and ADOPTS the R&R (Court File No. 557) and finds Defendant competent to

 stand trial.

         SO ORDERED.

         ENTER:



                                              /s/
                                              CURTIS L. COLLIER
                                              CHIEF UNITED STATES DISTRICT JUDGE




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